                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION

VICTORIA CAREY, MARIE BURRIS,       )
MICHAEL KISER, and BRENT NIX,       )
individually and on behalf of all others
                                    )             Case No.: 7:17-CV-00189-D
similarly situated,                 )             Case No.: 7:17-CV-00197-D
                                    )             Case No.: 7:17-CV-00201-D
           Plaintiffs,              )
                                    )
        v.                          )
                                    )
E.I. DUPONT de NEMOURS AND          )
COMPANY and THE CHEMOURS            )
COMPANY FC, LLC,                    )
                                    )
           Defendants.              )
____________________________________)
CAPE FEAR PUBLIC UTILITY            )
AUTHORITY,                          )
                                    )             Case No.: 7:17-CV-00195-D
           Plaintiff,               )
                                    )
        v.                          )
                                    )
THE CHEMOURS COMPANY FC, LLC, )
et al.,                             )
                                    )
           Defendants.              )
____________________________________)
BRUNSWICK COUNTY, a                 )
governmental entity,                )
                                    )             Case No.: 7:17-CV-00209-D
           Plaintiff,               )
                                    )
        v.                          )
                                    )
DOWDUPONT, INC., et al.,            )
                                    )
           Defendants.              )
                                       1
6355649v1 01209/014540
           Case 7:17-cv-00189-D Document 105 Filed 02/01/19 Page 1 of 19
TOWN OF WRIGHTSVILLE                )
BEACH, a                            )
governmental entity,                )
                                    )                 Case No.: 7:17-CV-00209-D
          Plaintiff,                )
                                    )
     v.                             )
                                    )
DOWDUPONT, INC., et al.,            )
                                    )
          Defendants.               )
____________________________________)
LOWER CAPE FEAR WATER               )
& SEWER AUTHORITY,                  )
                                    )                 Case No.: 7:17-CV-00209-D
          Plaintiff,                )
                                    )
     v.                             )
                                    )
DOWDUPONT, INC., et al.,            )
                                    )
          Defendants.               )
____________________________________)

       PLAINTIFFS’ JOINT MOTION FOR A STATUS CONFERENCE

        Plaintiffs respectfully move this Court, pursuant to Federal Rule of Civil

Procedure 16(a), to set a status conference to discuss the status of the cases, recent

activity relevant to the cases about which Plaintiffs would like to apprise the Court,

and pending motions. Defendants are opposed to this motion.

        In support of this motion, Plaintiffs note the following:

        1. At both the January 4, 2018, and May 25, 2018 status conferences, the

            Court indicated a willingness to hold semi-regular status conferences to


                                       2
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            keep apprised of developments and eliminate roadblocks. See Ex. A

            (1.4.2018 Hrg. Tr. at 55-56); Ex. B (5.25.2018 Hr. Tr. at 73-75).

        2. In the eight months that have passed since the last status conference,

            numerous developments have transpired that are relevant to these cases,

            and about which the Plaintiffs would like to update the court, including

            (a) the proposed consent order between the North Carolina Department of

            Environmental Quality (DEQ) and Defendant the Chemours Company

            FC, LLC in a pending action in North Carolina Superior Court; and (b)

            Plaintiffs’ comments and motions related to the proposed consent order

            and related state-court action.

        3. Additionally, currently pending before the Court are several motions,

            including (a) Defendants’ Motion to Dismiss, see Dkt. No. 37 1; and (b)

            Plaintiffs’ Joint Motion to Compel a Discovery Conference under Rule

            26(f), see Dkt. No. 66. The latter seeks to compel Defendants to hold a

            Rule 26(f) conference that, due to Defendants’ refusal to meet and confer

            under Rule 26(f), has delayed commencement of discovery by more than

            one year.

        Plaintiffs believe that a conference between the Parties and the Court would

be helpful in advancing the cases and establishing schedules to guide their future


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 All Docket references are to Cape Fear Public Utility Authority v. The Chemours
Company FC, LLC, No. 17-cv-00195-D (E.D.N.C.).
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conduct. Accordingly, Plaintiffs respectfully request the Court to set a status

conference on one of the following dates:

                  1. February 20, 2019;

                  2. February 21, 2019; or

                  3. February 27, 2019.

      A proposed order accompanies this motion.

Dated: February 1, 2019                      Respectfully submitted,

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                           CERTIFICATE OF SERVICE

        I hereby certify that on February 1, 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to all counsel of record who have made an appearance in the above-

captioned cases.




Dated: February 1, 2019                        /s/ Steven M. Seigel
                                               Steven M. Seigel




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                     EXHIBIT A

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 1                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
 2                           SOUTHERN DIVISION
     _____________________________________
 3                                         )
     BRENT NIX, Individually and on behalf)
 4   of all others similarly situated,     )
          Plaintiffs,                      )
 5               vs.                       ) 7:17-CV-00189-D
                                           )
 6   THE CHEMOURS COMPANY FC, LLC, et al )
          Defendants.                      )
 7   _____________________________________)

 8   CAPE FEAR PUBLIC UTILITY AUTHORITY, )
          Plaintiff,                       )
 9             vs.                         )            7:17-CV-00195-D
     THE CHEMOURS COMPANY FC, LLC, and     )
10   E.I. DUPONT de NEMOURS and COMPANY    )
          Defendants.                      )
11   _____________________________________
     ROGER MORTON, Individually and on     )
12   on behalf of all others similarly     )
     situated,                             )
13        Plaintiffs,                      )
               vs.                         )            7:17-CV-00197-D
14   THE CHEMOURS COMPANY FC, LLC, et al )
          Defendants.                      )
15   ____________________________________ )
     VICTORIA CAREY, Individually and on )
16   behalf of all others similarly        )
     situated,                             )
17        Plaintiffs,                      )
               vs.                         )            7:17-CV-00201-D
18   E.I. DUPONT de NEMOURS and COMPANY    )
     and CHEMOURS COMPANY, FC, LLC,        )
19        Defendants.                      )
     _____________________________________
20   BRUNSWICK COUNTY, a governmental      )
     entity,                               )
21        Plaintiff,                       )
               vs.                         )            7:17-CV-00209-D
22   DOWDUPONT, INC., a Delaware           )
     Corporation; et al                    )
23        Defendants.                      )
     _____________________________________
24

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 1                          THURSDAY, JANUARY 4, 2018
                              SCHEDULING CONFERENCE
 2                  BEFORE THE HONORABLE JAMES C. DEVER III
                       CHIEF UNITED STATES DISTRICT JUDGE
 3

 4   APPEARANCES:

 5   Attorneys for Plaintiffs:

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22
                        AMY M. CONDON, CRR, CSR, RPR
23                         Official Court Reporter
                        United States District Court
24                        Raleigh, North Carolina
                Stenotype with computer-aided transcription
25


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 1              MR. LEOPOLD:       And pleading form is appropriate, Your

 2   Honor?

 3              THE COURT:      Yes.

 4              MR. LEOPOLD:       And also in the interim between that

 5   time when the time is appropriate and available for all sides,

 6   would the Court expect us to get together for a Rule 26 type of

 7   meet and confer to start working on a discovery schedule?

 8              THE COURT:      I think once you -- I'm sure from the

 9   defense perspective they want to see the consolidated

10   complaints, and I certainly would think that after the

11   consolidated complaints are filed and digested that I'd like

12   you all to meet and confer, because, again, I anticipate there

13   will probably be a disagreement about how to proceed with

14   issues like discovery on certain matters and motions practice.

15   And as part of that process, I would anticipate that taking

16   place after the consolidated complaints are filed on the 31st.

17              If you would like to have, you know, a status

18   conference, I'm happy to do that either in person or by phone,

19   I can make myself available for you all.

20              MR. LEOPOLD:       I do think, Your Honor, as the Court

21   may know from our papers, I'm in front of Judge Judith Levy in

22   Flint, I'm co-lead in the Flint matter and I can't stress

23   enough how wonderful it's been to have on a regular basis in

24   cases like this, as I'm sure the Court can appreciate, regular

25   status conference to help keep things moving.               And if the Court


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 1   will indulge me, to recommend anything would be a regular basis

 2   of status conference is just tremendously helpful.

 3              THE COURT:      That's certainly my practice in these

 4   types of cases and I would anticipate doing that in this as

 5   well.

 6              Anything else, Mr. Sasser?

 7              MR. SASSER:      Nothing.     Thank you very much, Your

 8   Honor.

 9              THE COURT:      Anything else, Mr. House?

10              MR. HOUSE:      No, Your Honor.

11              THE COURT:      I do thank you all for your arguments and

12   presentations today.       I hope everyone is safe getting home and

13   look forward to receiving your submissions on the 26th.

14              We'll be in recess until noon tomorrow.

15                  (The proceedings concluded at 3:30 p.m.)

16

17

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                      EXHIBIT B

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                    UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF NORTH CAROLINA




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 NIX, et al.                          Docket   No.   7:17-CV-189-D
                                      Docket   No.   7:17-CV-195-D
 v.                                   Docket   No.   7:17-CV-197-D
                                      Docket   No.   7:17-CV-201-D
 THE CHEMOURS COMPANY,                Docket   No.   7:17-CV-209-D
 FC, LLC, et al.                      Docket   No.   5:18-CV-73-D

                                      Raleigh, North Carolina
 - - - - - - - - - - - - - -          May 25, 2018



                TRANSCRIPT OF STATUS CONFERENCE
  BEFORE HONORABLE JAMES C. DEVER III, CHIEF DISTRICT JUDGE,
             UNITED STATES DISTRICT COURT FOR THE
              EASTERN DISTRICT OF NORTH CAROLINA


 APPEARANCES:

 For the Plaintiffs:        Theodore Leopold, Esq.
                            George House, Esq.
                            Stephen Morrissey, Esq.
                            Stephen Bunch, Esq.
                            Stephen Johnston, Esq.

 For the Defendants:        Kenneth Reilly, Esq.
                            John Sherk, Esq.
                            Mark Anstoetter, Esq.
                            Stephen Feldman, Esq.
                            Jonathan Sasser, Esq.

 Court Reporter:            Harold M. Hagopian, RDR, CRR




        Proceedings recorded by mechanical stenography,
   Transcript produced by computer-assisted transcription.



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 1                                     PROCEEDINGS

 2            (The following proceedings were held in open court at

 3    the United States Courthouse, 310 New Bern Avenue, Raleigh,

 4    North Carolina, before the Honorable James C. Dever III,

 5    Chief District Judge for the Eastern District of North

 6    Carolina, on May 25, 2018, at 10:59 a.m.)

 7                                 *        *        *

 8                  THE COURT:     Good morning, and welcome to the

 9    United States District Court for the Eastern District of

10    North Carolina.      We're here today for a status conference

11    in three cases only -- five cases, depending on the math.

12            So, why don't we just, for -- I recognize a lot of

13    familiar faces, but we'll start with counsel for

14    plaintiffs, and then we'll hear from counsel for

15    defendants.     If you'd just introduce yourself again.

16                  MR. LEOPOLD.       Thank you, your Honor.         Good

17    morning.     Ted Leopold on behalf of the class plaintiffs.

18                  THE COURT:     Good morning, Mr. Leopold.

19                  MR. HOUSE:     Good morning, your Honor.           George

20    House, for the Brooks firm, on behalf of Cape Fear Public

21    Utility Authority.

22                  THE COURT:     Good morning, Mr. House.

23                  MR. MORRISEY:       Good morning, your Honor.

24    Stephen Morrisey, Susman Godfrey, for the class plaintiffs.

25                  THE COURT:     Good morning, Mr. Morrisey.



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 1    think, if we were to have -- whether the Court wants us to

 2    notice it, but a regular conference maybe every five, six

 3    weeks -- maybe in the middle of July -- just to keep the

 4    trains running.      I just think it would be very helpful.

 5            Today has been very helpful, I know.           I'm sure I

 6    speak on behalf of both sides.          It's very helpful for the

 7    parties just to keep this -- you know, this moving.             This

 8    is, it goes without saying, an important public issue, and

 9    we all are getting a lot of inquiries about what is going

10    on.    And it just may be helpful.

11                  THE COURT:     All right.     Well, why don't you all,

12    at least on that latter point --

13                  MR. REILLY:     Your Honor, if you will allow me to

14    address that?

15                  THE COURT:     Sure.

16                  MR. REILLY:     This inquiry into -- I've gotten

17    multiple emails asking me to affirm that we are doing what

18    they think we need to do in terms of --

19                  THE COURT:     Oh, on that issue, let me just say

20    it is not my habit to order people to follow the law.               And

21    that goes for everyone in this room.           And I know that all

22    of you -- again, it's testified to by all the documents

23    that you all so thoroughly went through in the

24    meet-and-confer, and your professionalism is appreciated

25    and expected.



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 1            And I meant to tell you all at the beginning, in the

 2    well of the courtroom here -- I know we're in this small

 3    courtroom today because we're having some maintenance done

 4    on 1 -- but you're not visitors here, so you never have to

 5    wear a visitor's badge in the well of this courtroom.             Now,

 6    the CSOs will get after you if you're out in the hallways

 7    without one in the federal building, but, in the well of

 8    the courtroom, none of the lawyers here are visitors.

 9            And so, you don't even have to say what I think you

10    were about to say.       I know you know, and I know the

11    plaintiffs know.      I mean, I know everyone knows their

12    responsibilities.

13            I will look, on the issue of the meet-and-confer --

14    obviously, under the rules, the parties, if they wanted to,

15    you know, reach agreements, even if they're tentative on

16    certain issues.      If you all can do that.        I mean, if you

17    don't want to, you don't have to.          I'm not sure whether

18    I'll have a hearing or hearings on the motions to dismiss.

19    They raise interesting issues.          So, I won't schedule a

20    status conference yet, but as I continue to work on the

21    case, I would expect that to be part of what we do.

22            And, certainly, in this type of case, it's been my

23    practice -- and, again, I have a lot of criminal cases, I

24    can tell you.      I finished a trial a couple days ago and

25    start another one soon -- to, once a case gets into



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 1    discovery, to try and have the availability, at least, of a

 2    magistrate judge, or me, depending on schedules, on a

 3    monthly basis just to basically -- or sooner.             And

 4    sometimes things can be done by telephone, just because I

 5    know the reality of this type of litigation everybody wants

 6    to get the answer they want, but a lot of times they just

 7    need an answer so they can keep moving.            And we'll

 8    certainly do our best to make that happen for you all.

 9            Anything else?

10            (Negative replies.)

11            Again, I do want to thank all the lawyers for all

12    their hard work in connection with this.            I will get an

13    order out by the end of the day memorializing what I've

14    decided, and I hope everyone has a wonderful Memorial Day

15    weekend.

16            (Whereupon the proceedings concluded at 12:46 p.m.)

17                                 *      *       *

18                                 CERTIFICATION

19            I certify that the foregoing is a correct transcript

20    of the record of proceedings in the above-entitled matter

21    to the best of my skill and ability.

22

23    /s/ Harold M. Hagopian                       June 7, 2018
      Contract Court Reporter                      Date
24

25



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